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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                LEXINGTON DOCKET

                                       Electronically Filed

 FRED MULLINS                                    )
                                                 )
                                     Plaintiff   )
                                                 )
 vs.                                             )   Civil Action No.:
                                                 )   Judge
 HOME DEPOT USA, INC.                            )   Magistrate Judge
                                                 )
                                   Defendant     )


                                   NOTICE OF REMOVAL

       Defendant, Home Depot USA, Inc., incorrectly named as The Home Depot, Inc.

(hereinafter referred to as “Home Depot”), by and through counsel, hereby gives notice of removal

of the above action from the Fayette Circuit Court, Commonwealth of Kentucky (“Circuit Court”),

to the United States District Court for the Eastern District of Kentucky, Central Division,

Lexington docket, pursuant to 28 U.S.C. §§ 1332(a), 1441 and 1446. As set forth below, this Court

has original diversity jurisdiction over this action pursuant to Section 28 U.S.C. § 1332. All

requirements for removal of this action are met through the allegations contained in the pleadings

filed in the Circuit Court and in this Notice of Removal.

       In support of this Notice of Removal, Home Depot states as follows:

       1.      There is pending in the Fayette Circuit Court, Commonwealth of Kentucky, a

Complaint styled Fred Mullins v. The Home Depot, Inc., Case No. 18-CI-2093 (the “State Court

Action”). The Complaint in the State Court Action was filed on or about June 8 2018. A copy of
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the Complaint is attached hereto as Exhibit A. Home Depot, the removing party herein, is named

as a Defendant in the State Court Action, along with an “Unknown Defendant”.

       2.      Home Depot was served a copy of the Complaint in the State Court Action on June

12, 2018.

       3.      Home Depot filed its Answer on November 12, 2018, in the Fayette Circuit Court,

pursuant to an agreement with Plaintiff’s counsel to extend Home Depot’s time to file its Answer.

No further proceedings have been had in the State Court Action. A copy of the above referenced

responsive pleading is attached hereto as Exhibit B.

       4.      This Notice of Removal is filed within thirty days of the date upon which Home

Depot first received notice that the amount in controversy herein exceeds $75,000.00 and is

therefore timely pursuant to 28 U.S.C. § 1446(b).

       5.      The State Court Action is properly removed under 28 U.S.C. § 1441(a), because

the State Court Action is subject to the original jurisdiction of this Court pursuant to 28 U.S.C. §

1332, as explained below.

       6.      Home Depot is informed and believes that Plaintiff, Fred Mullins, is a citizen of the

Commonwealth of Kentucky. See Exhibit A ¶1.

       7.      Defendant Home Depot is incorporated under the laws of the State of Delaware

with its principal place of business in Atlanta, Georgia.

       8.      Based on Plaintiff’s demand tendered by letter dated October 19, 2018, the amount

in controversy exceeds $75,000.

       9.      This action is properly removed on grounds of diversity jurisdiction because (a)

complete diversity of citizenship exists between Plaintiff and Defendant Home Depot, and (b) the

amount in controversy herein exceeds the sum or value of $75,000, exclusive of interest and costs.



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       10.     Written notice of the filing of this Notice of Removal will promptly be given to

Plaintiff and the Clerk of the Circuit Court of Jefferson County, Kentucky, as required by 28 U.S.C.

§ 1446(d).


       WHEREFORE, Defendant, Home Depot USA, Inc., by counsel, respectfully requests that

this case proceed before this Court as an action properly removed.



                                                     Respectfully submitted,

                                                     _s/William A. Hoback_________________
                                                     William A. Hoback
                                                     (bhoback@middletonlaw.com)
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                                                     401 S. 4th Street
                                                     Suite 2600
                                                     Louisville, Kentucky 40202
                                                     Phone: (502) 584-1135
                                                     Fax: (502) 561-0442
                                                     Counsel for Defendant


                                 CERTIFICATE OF SERVICE
        It is hereby certified that a true and accurate copy of the foregoing was served via the US
Postal Service on this 16th of November, 2018 on:

Karen Walker
WALKER LAW OFFICE, PLLC
106 West Second Street
Lexington, KY 40507
(859) 252-0250
Counsel for Plaintiff


                                                     _s/William A. Hoback______________
                                                     Counsel for Defendant




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